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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                 :      Hon. Madeline Cox Arleo
                                         :
       v.                                :      Crim. No. 24-407
                                         :
TIMOTHY BOGEN,                           :
KEVIN FRINK,                             :
DION JACOB,                              :
QUINTON JOHNSON,                         :
DAVID LONERGAN,                          :
DAVID MCBRIEN,                           :
RODOLFO RIVERA,                          :
GREGORY RICHARDSON,                      :
MICHAEL TOAL, and                        :
DAMANY WALKER                            :      ORDER FOR A CONTINUANCE



      This matter having come before the Court on the joint application of Philip R.

Sellinger, United States Attorney for the District of New Jersey (by Katherine M.

Romano and Jessica R. Ecker, Assistant U.S. Attorneys, appearing) and defendants

Timothy Bogen (by Michael Rubas, Esq., appearing), Kevin Frink (by Sarah

Sulkowski, Esq., appearing), Dion Jacob (by Julian Wilsey, Esq., appearing), Quinton

Johnson (by John McMahon, Esq., appearing), David Lonergan (by Bruce Rosen,

Esq., appearing), David McBrien (by Michael Calabro, Esq., appearing), Rodolpho

Rivera (by Dennis Cleary, Esq., appearing), Gregory Richardson (by Christopher

Adams, Esq., appearing), Michael Toal (by Michael Chazen, Esq., appearing), and

Damany Walker (by Michael Rosas, Esq., appearing), for an order granting a

continuance of the proceedings in the above-captioned matter; and the defendants
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being aware that he has the right to have this matter brought to trial within 70 days

of the filing date of the indictment or the date of his appearance before a judicial

officer of this court pursuant to 18 U.S.C. § 3161(c)(1), whichever is later; and the

defendants, through their attorneys, having consented to this continuance and

having waived such right; and one prior continuance having been entered; and for

good cause shown,

      IT IS THE FINDING OF THIS COURT that this action should be continued

for the following reasons:

             (1)     This case is an unusual or complex case within the meaning of the

Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(ii), in light of the number of defendants

and the nature of the prosecution, such that it is unreasonable to expect adequate

preparation for pretrial proceedings or for the trial itself within 70 days;

             (2)     The discovery in the case is voluminous, consisting of, among

other things, insurance claims data, billing records, text messages, video recordings,

phone records, other electronic documents, bank records, and financial records, and

additional time is necessary to ensure that, taking into account the exercise of

diligence, defense counsel have sufficient time to review and inspect discovery and

further investigate the charges in the matter;

             (3)     As a result of the foregoing, pursuant to Title 18, United States

Code, Section 3161(h)(7)(A) and (h)(7)(B)(ii) and (iv), the ends of justice served by

granting the continuance outweigh the best interest of the public and the defendant

in a speedy trial.
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                                  2nd day of ___________,
       IT IS, therefore, on this ______       October     2024,

       ORDERED that this action be, and hereby is, continued under the Speedy Trial

Act from the date this Order is signed through and including January 10, 2025; and

it is further

       ORDERED that the period from the date this Order is signed through and

including January 10, 2025 shall be excludable in computing time under the Speedy

Trial Act of 1974.


                                                         ____________________
                                             HON. MADELINE COX ARLEO
                                             United States District Judge



Form and entry consented to:

/s/ Jessica R. Ecker
Katherine M. Romano
Jessica R. Ecker
Assistant U.S. Attorneys

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Michael Rubas, Esq.
Counsel for Defendant Timothy Bogen

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Sarah Sulkowski, Esq.
Counsel for Defendant Kevin Frink

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Julian Wilsey, Esq.
Counsel for Defendant Dion Jacob
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